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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  Mahmoud KHALIL,
                   Petitioner,
  v.                                                             Case No. 25-cv-01963 (MEF-
  Donald J. TRUMP, in his official capacity as                   MAH)
  President of the United States; William P. JOYCE,
  in his official capacity as Acting Field Office                DECLARATION OF
  Director of New York, Immigration and Customs                  VERONICA R. SALAMA
  Enforcement; Yolanda PITTMAN, in her official
  capacity as Warden of Elizabeth Contract
  Detention Facility; Caleb VITELLO, Acting
  Director, U.S. Immigration and Customs
  Enforcement; Kristi NOEM, in her official capacity
  as Secretary of the United States Department of
  Homeland Security; Marco RUBIO, in his official
  capacity as Secretary of State; and Pamela BONDI,
  in her official capacity as Attorney General, U.S.
  Department of Justice,

                 Respondents.

        I, Veronica R. Salama, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that
the following is true and correct:

1. My name is Veronica R. Salama. I am a licensed attorney in good standing in the state of New
   York. I am an attorney of record in the above-captioned case. I represent the Petitioner-
   Plaintiff, Mahmoud Khalil, in this action.

2. Attached hereto, at the exhibits listed below, are true and correct copies of the following
   declarations:

     A. Attached as Exhibit A is the Declaration of Petitioner-Plaintiff Mahmoud Khalil, dated
        June 4, 2025.

     B. Attached as Exhibit B is the Declaration of Dr. Noor Ramez Abdalla, dated June 3, 2025,
        speaking to the harms that she and Mr. Khalil are experiencing to date as a direct result
        of the Determination and Petitioner’s arrest and detention, including: chilling effects,
        family separation, and the trauma of detention.

     C. Attached as Exhibit C is the June 4, 2025, Declaration of Johnny Sinodis, partner at Van
        Der Hout LLP and representing Mr. Khalil’s in this matter and in his immigration
        proceedings, summarizing Mr. Khalil’s immigration proceedings and related evidence—
        including the dismissal of post-hoc charge #7 by the immigration judge on April 22,

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        2025, DHS’s decision not to cross-examine Mr. Khalil at this same hearing, and its failure
        to argue in support of the remaining charges in its June 2, 2025, closing arguments
        submission.

     D. Attached as Exhibit D are declarations from the American Association of Urban
        Professors (“AAUP”) about the broader chilling effect in colleges and universities and
        the uncertainty of how to conform conduct because of the Trump Administration’s
        ideological exclusion Policy:

            1. Exhibit D-1: Declaration of Veena Dubal, general counsel of the AAUP, a
               plaintiff in American Association of University Professors v. Rubio, No. 25-cv-
               10685, (D. Mass. filed Mar. 25, 2025), dated April 1, 2025, speaking on the
               principal ways in which the ideological-deportation policy has impeded and
               continues to impeded the AAUP, from carrying out its mission and the harm to
               AAUP campus chapters and members.

            2. Exhibit D-2: Declaration of Aslı Ü Bâli, the Howard M. Holtzmann Professor of
               Law at Yale Law School, member of the AAUP, and the current President of the
               Middle East Studies Association of North America (“MESA”), a plaintiff in
               American Association of University Professors v. Rubio, No. 25-cv-10685, (D.
               Mass. filed Mar. 25, 2025), dated April 1, 2025, speaking on the effect of the
               ideological-deportation policy on MESA’s members.

     E. Attached as Exhibit E are declarations by a professor and a student at Cornell University,
        speaking to the chilling effects they experienced from government’s targeting of
        Momodou Taal, a non-U.S. citizen who, like Mr. Khalil, was targeted for removal based
        on his pro-Palestine expression.

            1. Declaration of Mũkoma Ngũgĩ, Professor at Cornell University, dated March 14,
               2025, filed as ECF 2-3 in Taal v. Trump, No. 3:25-cv-00335, (N.D.N.Y. filed
               Mar. 15, 2025).

            2. Declaration of Sriram Parasurama, graduate student at Cornell University, filed
               as ECF 2-4 in Taal v. Trump, No. 3:25-cv-00335, (N.D.N.Y. filed Mar. 15, 2025).

     F. Attached as Exhibit F are declarations from legal service providers speaking to a
        significant uptick in individuals seeking legal advice following Mr. Khalil’s arrest,
        particularly those on university campuses, or those who had been previously been
        outspoken in support of Palestinian rights or simply because of their non-citizen status:

            1. Exhibit F-1: Declaration of Victoria Porell, Senior Staff Attorney at Palestine
               Legal, dated June 3, 2025, reporting a 30% spike in legal support requests since
               Mr. Khalil’s arrest and providing individual anonymized examples;

            2. Exhibit F-2: Declaration of Golnaz Fakhimi, legal director of Muslim Advocates,
               dated June 4, 2025, reporting a sharp increase in non-citizens seeking legal
               support since Mr. Khalil’s arrest, driven by fear that expressing views supportive


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                   of Palestinian rights or critical of U.S. and Israel policies could trigger
                   immigration enforcement;

               3. Exhibit F-3: Declaration of Joshua Dratel, founding partner of Dratel & Lewis, 1
                  dated June 3, 2025, stating that since Mr. Khalil’s arrest, his law firm has been
                  contacted by dozens of individuals from diverse backgrounds seeking legal
                  advice out of fear of government retaliation for their pro-Palestine advocacy.

        G. Attached as Exhibit G are declarations from Columbia University professors, speaking
           on the climate of fear and uncertainty, chilling effect on speech and political participation,
           and providing examples of faculty and students changing their behavior in response to
           Mr. Khalil’s arrest and detention:

               1. Exhibit G-1: Declaration of Rashid Khalidi, Edward Said Professor Emeritus of
                  Modern Arab Studies at Columbia University, dated June 4, 2025;

               2. Exhibit G-2: Declaration of James Schamus, Professor of Professional Practice
                  in the School of the Arts at Columbia University, dated May 31, 2025;

               3. Exhibit G-3: Declaration of Nadia Abu El-Haj, Professor of Anthropology at
                  Barnard College and Columbia University, dated June 1, 2025;

               4. Exhibit G-4: Declaration of                   ,
                                                                                           at Columbia
                   University, dated June 2, 2025;

               5. Exhibit G-5: Declaration of Yannik Thiem, associate professor in the
                  Department of Religion at Columbia University, dated June 1, 2025;

               6. Exhibit G-6: Declaration of Harold Stolper, Lecturer at Columbia University’s
                  School of Internal and Public Affairs (“SIPA”), dated June 2, 2025;

               7. Exhibit G-7: Declaration of                           ,
                           , dated June 2, 2025;

               8. Exhibit G-8: Declaration of                       ,
                           ,                   , and                                                    ,
                                     , dated June 2, 2025;

               9. Exhibit G-9: Declaration of                               ,
                                                     ,
                                                 ,

                                                         dated June 2, 2025;



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    Dratel & Lewis is one of the law firms representing Mr. Khalil in the above-captioned case.
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            10. Exhibit G-10: Declaration of                  ,                                    ,
                dated June 2, 2025;

            11. Exhibit G-11: Declaration of                , Lecturer in the Department of
                                            and postdoctoral scholar in
                             at Columbia University, dated June 2, 2025.

     H. Attached as Exhibit H are declarations of students at Columbia University speaking to
        their own experiences and of their observations of chilled speech since Mr. Khalil’s arrest
        and detention and the Rubio Determination:

            1. Exhibit H-1: Declaration of                        , graduate student at Columbia
               University pursuing an                                     , dated June 1, 2025;

            2. Exhibit H-2: Declaration of                                      , recent graduate of
               Columbia University, dated June 1, 2025;

            3. Exhibit H-3: Declaration of                    , Jewish graduate                    ,
               dated May 31, 2025.

            4. Exhibit H-4: Declaration of                             , recent Jewish graduate of
               Barnard College, dated May 31, 2025;

            5. Exhibit H-5: Declaration of Shay Orentlicher, student at Columbia University
               and organizer with Columbia-Barnard Jewish Voice for Peace (JVP), dated May
               31, 2025;

            6. Exhibit H-6: Declaration of                 , rising third-year PhD student and
               instructor at Columbia University, dated June 2, 2025;

            7. Exhibit H-7: Declaration of                                 ,
                      , dated June 3, 2025;

            8. Exhibit H-8: Declaration of                         , recent graduate of      , dated
               June 2, 2025;

            9. Exhibit H-9: Declaration of              , recent Jewish graduate of Columbia
               University with continued active involvement in the Columbia community, dated
               June 1, 2025, speaking to their experience and attaching a letter by Jewish
               Columbia alumni denouncing the arrest and detention of Mr. Khalil;

            10. Exhibit H-10: Declaration of                           ,

                                                        dated June 2, 2025;

            11. Exhibit H-11: Declaration of                          , recent Jewish graduate of
                Columbia University, dated June 2, 2025; and


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            12. Exhibit H-12: Declaration of                   , recent graduate of Columbia
                University, dated June 2, 2025.

     I. Attached as Exhibit I is the Declaration of Human Rights Watch (“HRW”) researcher
        John Raphling, dated June 4, 2025, describing the chilling effect on speech among
        international students and non-U.S. citizens in response to the Trump administration’s
        punitive actions against ‘dissenters,’ drawing comparisons to patterns of repression
        observed by HRW in authoritarian regimes.


     J. Exhibit J - is the Declaration from Stephanie Fox, Executive Director of Jewish Voice
        for Peace (“JVP”), dated June 2, 2025, on the chilled speech of both U.S. citizen and
        noncitizen JVP members.

     K. Attached as Exhibit K is the Declaration of immigration attorney Ira Kurzban, dated
        June 4, 2025, on the unusualness of detaining a lawful permanent resident, especially one
        with strong ties to the U.S., on fraud or misrepresentation grounds.

     L. Exhibit L Declaration of immigration attorney Stacy Tolchin, dated May 30, 2025,
        regarding how fraud and misrepresentation and Mr. Khalil’s likelihood of success
        obtaining a waiver even if the post-hoc charges were sustained.

     M. Attached as Exhibit M is the declaration from Josh Paul, former Director of
        Congressional and Public Affairs for the Bureau of Political-Military Affairs, U.S.
        Department of State, in his personal capacity, dated May 12, 2025 on immigration cases
        regarding international chill and harm and impact on public interest.

     N. Attached as Exhibit N is the declaration from Christopher J. Le Mon, former Deputy
        Assistant Secretary in the Bureau of Democracy, Human Rights, and Labor at the U.S.
        Department of State, in his personal capacity, dated June 4, 2025, on arbitrary detention
        being utilized to suppress speech in the U.S. under the Rubio Determination similar to
        practices in undemocratic countries.

     O. Attached as Exhibit O is the Expert Declaration of Andrew Rasmussen, PhD., a licensed
        psychologist in New York, documenting the clinical psychological harm Mr. Khalil is
        suffering from the shock of unjust arrest and continued detention and family separation,
        which will inevitably severely worsen absent release.

     P. Attached as Exhibit P is the declaration from Kerry Doyle, former Principal Legal
        Advisor for U.S. Immigration and Customs Enforcement (“ICE”) and former
        Immigration Judge, in her personal capacity, dated June 4, 2024, on the transfer of Mr.
        Khalil to Louisiana, his detention based on the Foreign Policy Ground, and the post-hoc
        charges as highly unusual.


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      Q. Attached as Exhibit Q is the declaration from                               , a licensed
         psychologist and                                               , dated June 3, 2025, on
         the irreparable social and stigmatic harm that Mr. Khalil is and will likely continue to
         suffer in this country as a Palestinian Muslim subject to the Rubio Determination and
         other disparaging comments by high level government officials.


 Executed on June 4, 2025
 New York, New York
                                                    _______________________
                                                    Veronica R. Salama
                                                    Staff Attorney
                                                    New York Civil Liberties Union Foundation




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